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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


HENOK MENGESHA,

               Plaintiff,

       v.                                            Case No. 1:19-cv-3304 (ABJ)

DISTRICT OF COLUMBIA, et al.,

               Defendants.


DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR RECONSIDERATION

                                       INTRODUCTION

       Defendants the District of Columbia (the District), Benidia Rice, Magda Benfield, James

Kevin McIntyre, Nicole Reece, and Yajaira Briganty respectfully submit this opposition to

Plaintiff’s motion to reconsider the Court’s November 30, 2020 Order granting Defendants’

respective motions to dismiss and denying Plaintiff’s request for a preliminary injunction.

Plaintiff provides no cognizable basis for reconsideration. Thus, the Court should deny

Plaintiff’s motion.

                                        BACKGROUND

       Plaintiff filed the Amended Complaint on December 6, 2019, against the District and

Benidia Rice, Magda Benfield, James McIntyre, Nicole Reece, and Yajaira Briganty, who are all

current or former employees of the D.C. Office of the Attorney General’s Child Support Services

Division (CSSD). Plaintiff claimed that Defendants are liable for their allegedly unlawful

enforcement of a D.C. Superior Court child support order. Specifically, Plaintiff challenged

CSSD’s attachment of his retirement accounts to satisfy his outstanding arrears. Plaintiff

asserted that an administrative error by CSSD violated his constitutional due process rights. On
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this basis, he brought a constitutional tort claim and various common law claims. See Am.

Compl. [4-1] at 10-19.

       Defendants filed respective motions to dismiss. Plaintiff moved for a preliminary

injunction, which the Court consolidated with its consideration of the merits under Fed. R. Civ.

P. 65(a)(2). See May 22, 2020 Min. Order. On November 30, 2020, the Court granted

Defendants’ motions to dismiss and denied Plaintiff’s motion for a preliminary injunction. Nov.

30, 2020 Mem. Op. [38]; Nov. 30, 2020 Order [39]. Plaintiff now seeks reconsideration of that

ruling and reinstatement of the Amended Complaint.

                                   STANDARD OF REVIEW

        A motion seeking reconsideration under Fed. R. Civ. P. 59(e) “is disfavored.” Lightfoot

v. District of Columbia, 355 F. Supp. 2d 414, 421 (D.D.C. 2005).1 Such motions are “not

routinely granted.” Harvey v. District of Columbia, 949 F. Supp. 878, 879 (D.D.C. 1996).

While a Rule 59(e) motion is “discretionary[,]” the court may grant such a motion only if (1)

“there is an ‘intervening change of controlling law[;]’” (2) “new evidence becomes available[;]”

or (3) “the judgment should be amended in order to ‘correct a clear legal error or prevent

manifest injustice.’” Leidos, Inc. v. Hellenic Republic, 881 F.3d 213, 217 (D.C. Cir. 2018)

(quoting Firestone v. Firestone, 76 F.3d 1205, 1208 (D.C. Cir. 1996)).

       A Rule 59(e) motion should not be granted if a district court suspects that a losing party

is using the motion to “relitigate old matters, or to raise arguments or present evidence that could

have been raised prior to the entry of judgment.” Turner v. U.S. Capitol Police, No. 12-CV-45,

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         Plaintiff does not specify the procedural basis for seeking reconsideration. However, “[a]
motion to reconsider a final order is generally treated as a Rule 59(e) motion if it is filed within
the filing time limit set forth in that rule.” Roane v. Gonzales, 832 F. Supp. 2d 61, 64 (D.D.C.
2011). Because Plaintiff filed his motion within the 28 days provided by Rule 59(e), the Court
should construe the motion as seeking relief under Rule 59(e).


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2014 WL 169871, at *1 (D.D.C. Jan. 16, 2014) (citation and internal quotes omitted); see also

Roane v. Gonzales, 832 F. Supp. 2d 61, 64 (D.D.C. 2011) (“Rule 59(e) motions are not granted if

the court suspects that the losing party is using the motion as an instrumentality for asserting new

arguments that could have been advanced earlier.”) (citations and ellipses omitted). “The

strictness with which [Rule 59(e)] motions are viewed is justified by the need to protect both the

integrity of the adversarial process . . . and the ability of the parties and others to rely on the

finality of judgments.” U.S. Commodity Futures Trading Comm'n v. McGraw–Hill Cos., 403 F.

Supp. 2d 34, 36 (D.D.C. 2005).

                                            ARGUMENT

Plaintiff Does Not Show a Clear Legal Error or Manifest Injustice and His Motion Merely
Attempts to Relitigate Old Matters.

        To prevail on a motion under Rule 59(e), Plaintiff must demonstrate that reconsideration

is necessary to “correct a clear legal error or prevent manifest injustice.”2 Leidos, Inc., 881 F.3d

at 217. “[M]anifest injustice” requires “at least (1) a clear and certain prejudice to the moving

party that (2) is fundamentally unfair in light of governing law.” Id. Plaintiff cannot meet this

standard.

        First, Plaintiff fails to show any clear legal error. The five alleged errors Plaintiff

identifies are insufficient to resuscitate his defective Complaint, and thus, on reconsideration,

dismissal is still appropriate. Plaintiff argues that the Court erred in five primary respects: (1)

failing to adequately consider the process afforded to Plaintiff prior to the attachment as opposed

to the process challenging the attachment after the fact; (2) dismissing the claims against the

individual defendants; (3) declining to exercise supplemental jurisdiction over the common law

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       Plaintiff does not contend that there has been an intervening change in law or that there is
new evidence; rather he argues that the Court’s substantive analysis was incorrect. See Pl.’s
Mot. for Reconsideration [40] at 2-7.
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claims; (4) denying Plaintiff’s request for an injunction; and (5) dismissing Plaintiff’s standalone

claim for return of funds. See Pl.’s Mot. for Reconsideration [40] at 2-7. But Plaintiff does not

dispute the Court’s analysis that he failed to establish municipal liability against the District

under Monell v. Department of Social Services, 436 U.S. 658, 691 (1978). See id. at 2-4. And

although Plaintiff correctly notes that a § 1983 claim can be brought against individual

employees of the District under certain circumstances, he does not meaningfully dispute the

Court’s conclusion that he “failed to allege any wrongdoing by the named defendants in their

individual capacities.” Nov. 30, 2020 Mem. Op. [38] at 12. Without any factual allegations

specific to the individuals, his claims against the individual defendants also fail. See id. Because

Plaintiff does not dispute these key conclusions, his due process claim could not succeed even if

he were correct on the new arguments he presents.

       Moreover, Plaintiff cannot demonstrate manifest injustice because the Court correctly

identified numerous avenues still available to Plaintiff to challenge his child support obligations

and any related enforcement actions. See id. at 11-12. It is not “fundamentally unfair” for

Plaintiff to be required to avail himself of these other means, particularly when, as the Court

noted, Plaintiff is already pursuing these options and they could potentially moot all of his

claims. See id. at 11 n.11. For these reasons, Plaintiff cannot meet the Rule 59(e) standard, and

the Court should deny the motion to reconsider.

       Plaintiff’s motion for reconsideration also violates the fundamental principle that Rule

59(e) does not allow parties to “relitigate old matters, or to raise arguments or present evidence

that could have been raised prior to the entry of judgment.” Niedermeier v. Office of Baucus,

153 F. Supp. 2d 23, 28 (D.D.C. 2001). Plaintiff’s five arguments in support of reconsideration

are not new or unforeseen—all were litigated at the motion to dismiss stage and addressed by the



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Court. The Court examined the complete process afforded to Plaintiff from the Superior Court

determination of child support obligations prior to attachment through the subsequent CSSD

enforcement actions at OAH, Nov. 30, 2020 Mem. Op. at 10-12; the lack of specific allegations

against the individual defendants, id. at 12-13; supplemental jurisdiction over the common law

claims, id. at 14-15; Plaintiff’s request for an injunction, id. at 15-16; and Plaintiff’s request for a

return of funds. Id. Because Plaintiff is simply attempting to relitigate matters already decided,

the Court should deny Plaintiff’s motion.

                                           CONCLUSION

        For these reasons, the Court should deny Plaintiff’s motion to reconsider its November

30, 2020 Memorandum Opinion and Order.


Date: January 11, 2021                                  Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       This certifies that on January 11, 2021, undersigned counsel served a copy of the

foregoing opposition on Plaintiff pro se via email at the following address:


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                                                     /s/ Matthew Trout
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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


HENOK MENGESHA,

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DISTRICT OF COLUMBIA, et al.,

                 Defendants.


                                             ORDER

         Upon consideration of the Plaintiff’s Motion for Reconsideration, Defendants’

opposition, any reply, and the entire record, it is this ________day of _____________ 2021,

hereby

         ORDERED that Plaintiff’s Motion is DENIED.


         SO ORDERED.




                                             AMY BERMAN JACKSON
                                             United States District Judge
